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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig            *
“Deepwater Horizon” in the Gulf                       MDL 2179
of Mexico, on April 20, 2010               *
                                                      SECTION: J(2)
 Applies to:                               *
 No. 18-11111                                         JUDGE BARBIER
                                           *
                                                      MAG. JUDGE CURRAULT
                                           *

                                      ORDER

      Before the Court is a Motion for Voluntary Dismissal with Prejudice by the

plaintiff in the referenced member case. (Rec. Doc. 26649).

      IT IS ORDERED that the Motion is GRANTED, and all claims in No. 18-11111,

MMR Group, Inc. v. BP Exploration & Production, Inc., et al., are DISMISSED WITH

PREJUDICE, each party to bear their own costs.

      New Orleans, Louisiana, this 3rd day of September, 2020.



                                               _________________________________
                                                  United States District Judge



Note to Clerk: File in the master docket and in the referenced member case.
